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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 TECSPEC LLC et al.,
                                Plaintiffs,
                                                        24 Civ. 8077 (JHR)
                        -v.-
                                                        ORDER
 MICHAEL DONNOLO et al.,
                                Defendants.

JENNIFER H. REARDEN, District Judge:

       The Court is in receipt of each party’s proposed schedule for completing briefing on

Plaintiffs’ motion for a preliminary injunction. See ECF No. 56 (Pl. Letter); ECF No. 57 (Def.

Letter). By December 31, 2024, Defendants shall submit supplemental briefing addressing

Plaintiffs’ December 6, 2024 submissions. See ECF Nos. 49-53; ECF No. 56-1 (Tr.) at 8:14-9:6.

With respect to the Declaration of Dr. Geoff Sheard proffered by Plaintiffs, ECF No. 51, which

relies on certain photographs of the Braya Entities’ HVAC unit, Defendants’ expert shall “review

and respond to the conclusions provided by” Dr. Sheard based on those same photographs (i.e.,

without physically inspecting the unit). ECF No. 57 at 1. By January 8, 2025, Plaintiffs shall

file their reply to Defendants’ submission, if any.

       The preliminary injunction hearing previously scheduled for December 10, 2024, see

ECF No. 31, is adjourned to January 13, 2025 at 10:45 a.m. The proceeding will be held via

Microsoft Teams. Counsel should join the conference by dialing 646-453-4442 and entering

Conference ID 488 483 124 followed by the pound (#) key. Members of the public may call the

same number but are to keep their phones muted during the proceeding.

       The Clerk of Court is directed to terminated ECF No. 54.
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      SO ORDERED.

Dated: December 18, 2024
       New York, New York


                                                JENNIFER H. REARDEN
                                                United States District Judge




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